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    TRULINCS 20446009 - FLEMING, RHONDA ANN - Unit: DUB-F-A


    FROM: 20446009
    TO: Beaty, Susan; Bromberek, Kristen K; Gha-Kim, Stephen; Coalition For Women, California; Davis, Ronda; Essett, Anthony:
    Fernandez, Lisa; Forbes, Lawrence: Foundation, Can-Do; Gilna, Derek; Goodwill, Michael; Helper, Legal; Janssen, Kara; Jd,
    Jd; Law, Victoria; Rory, Rory; Sheehan, Spencer
    SUBJECT: michael.keough@usdoj.gov
    DATE: 02/22/2024 09:14:57 AM



    RE: Fleming v. T. Jusino, No. 23-cv-2149-YGR
        Fleming v. United States, No. 22-cv-5082                                                               FEB 26 2m
        CCWP V. United States, No. 23-cv-4155-YGR(Referenced due to BOP employee Misconduct)          fie.
        VIOLENCE, INTIMIDATION & RACISM AGAINST WOMEN AT FCI-DUBLIN                          WORiHFRw                         WRT
    DearAUSA Michael Keough:                                                                                             oF CAimm
   Your response is due in the next week for Nos. 2149 and 5082. In light of the events which are reported in No. 4155 and in the
   media, I am praying your office will take action to secure my safety from violence, intimidation, and racism, provide me with
   appropriate medical treatment, and provide the appropriate transfer to halfway house/home confinement. I believe it is
   appropriate for your office to contact Judge Gonzalez-Rogers for her approval to transfer me to a halfway house or home
   confinement.

   The same way I arrived at FCI-Dublln, based on false allegations and violence by a BOP employee, is occurring right now. It is
.^^shameful that law enforcement prison officials are allowed to continually make false allegations in government documents,
y allow male BOP employees to commit violence and intimidation against non-violent women in their custody, and exhibit racism
   against Black and Brown women, yet the U.S. Attorney's Office does not prosecute these persons.

   This matter is no longer an inmate's words against the warden. BOP employees are willing to testify they have been threatened
   to make false allegations against me, to discredit sexual abuse victims at the prison, because the wardens want this sexual
   abuse matter to fade away, now. The BOP employees have been retaliated against for refusing to falsifying documents against
   me and other inmates. They have been threatened with demotions and transfers to less favorable prison assignment, because
   they believe the credibility of women reporting sexual abuse and retaliation.

   Deveney continues to state the prison will return to "Normal!" Normal for us, was sexual abuse, placement in the SHU for
   reporting misconduct, denial of transfers, and any other wrong thing that can occur in a prison.

   I have been denied safety and security within the prison, medical treatment, and transfer to the halfway house/home
   confinement, in retaliation for assisting women with legitimate claims against the BOP, and advocating for myself.

   For over a month, BOP employees were warning me of impending retaliation by the acting warden and associate wardens, due
   in part, to my testimony in January 2024. On January 31, 2024, these warnings proved to be true, when I was placed in the
   Special Housing Unit(SHU) without cause. The investigators for the prison repeatedly told the wardens I had done nothing
   wrong to warrant placing me in the SHU. However, the wardens wanted me "shutdown" and to stop documenting their
   misconduct, based on my continuing to report sexual and other misconduct, through the BOP internal email system, otherwise
   known as "Request to Staff."

   I was placed in a SHU cell with standing water, it was freezing cold, filthy, mold on the walls, and an overwhelming smell of
   sewage. As you know, I have several serious respiratory illnesses. This was a denial of medical treatment, caused by the
   conditions in which I was confined. I asked numerous times, specifically to the Asst. Health Services Administrator, Mr. Singh,
   to be removed from this cell. I showed him standing water in the cell. He saw ail of this and denied me medical treatment for 7
   days. I was left with coughing spasms, all over body pain, headaches, and sick with a virus. I was told the wardens authorized
   my placement in the SHU.

  I have been denied safety while in the prison, even at this time. The wardens, executive staff of the prison, intimidated BOP
  employees to write false incident reports against me. After 1 was placed in the SHU, my property was not inventoried by the unit
  officer, which is the normal procedure. Instead, my legal and personal property was taken to another location. Then,
  allegations of two screws were made in an incident report, a 200 series allegation, for possession of stolen property. This was a
  false allegation to support keeping me in the SHU. 200 series incident reports require placement In the SHU until the incident
   report is resolved.
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